IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

McALLEN DIVISION
UNITED STATES OF AMERICA §
VS. : CRIMINAL NO. 7:20-cr-01412-1
JUAN CARLOS CARRANZA ;

STATEMENT OF ACCEPTANCE OF RESPONSIBILITY
Now comes, JUAN CARLOS CARRANZA, Defendant in the above entitled and numbered
cause and renders this his Statement of Acceptance of Responsibility:

I have read the indictment in the above referenced case. I have pled guilty to count
one (1) of the Indictment and the facts contained therein are true and correct.

I accept full responsibility for my actions and am truly sorry for the trouble I have
caused the government, my family, and myself. I regret very deeply my involvement
and violating the law.

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JUAN CARLOS CARRANZA
Defendant
